                          Case 8:18-mc-00032 Document 1-2 Filed 11/29/18 Page 1 of 1 Page ID #:51

                                Case 1:18-cv-03309-PJM *SEALED* Document 1-2 Filed 10/31/18 Page 1 of 1
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 I. (R) PLAINTIFFS                                                                                                                                       DEI<'ENDANTS
                                                                                                                                                    Ecological Fox LLC; Chadwick, Luke; Pukke, Andris; Baker, Peter;
  Federal Trade Commission                                                                                                                          Global Property Alliance Inc.; Sittee River Wildlife Reserve; Buy Belize
                                                                                                                                                    LLC, et al. (see Complaint for full list}
      (b) County of Residence of First Listed Plaintiff                                                                                              County of Residence ofFirst Listed Defendant Anne Arundel
                                              (FXC/,/'TIN U.S 1'1.4/N!!H r "ASh'S)                                                                                                   (IN U.S. 1'1-A/NJJFF r ASI:'S ON/.})
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      (C) An omcys (Firm N'Ome, Aildfu.,~·. ancll'tddp!Jmll! Nrw~hrr)                                                                                    Artorncys (I/ Knou n)
  Jonathan Cohen, Benjamin J. Theisman, Amanda B. Kastner, and
  Khouryanna DiPrima, Federal Trade Commission, 600 Pennsylvania
  Ave. NW, Washington, DC 20580, (202) 326-2551.

 II. BASIS OF' JURISDICTION !l'lm""" "X"inOneHo> Oni,•J                                                                           Ill. CITIZENSIIIP OF PRINCIPAL PARTIES (1'/rJcca"                                                       " X" inOncHo.<(<>rl'luinrif/
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     COMPLAINT:                                                                                                                      at least $144.000,000 00                                         .H!RV J)EMAND:       :J Yes    lJ No
VIII. RELATED CASE(S)
      IF ANY                                                 f.'iee m.""""""'):                                   Peter J. Messitte                                                         DOCKETNUMBER 03-cv-3317-PJM
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